See ere eee eee

File View Mode Help

Date Accessed
Date Created
Date Modified
Actual File

Unix Permissions
UID
GID
© Ext2?/3/4 Information
Inode Number
Inode Change Time

10/2/2013 1:43:38 AM
5/8/2012 8:45:09 PM
3/20/2011 6:09:06 PM
True

UNIX Security Attributes

TWIT
1,000
1,000

3,802,551
7/12/2013 4:38:09 AM

sda4_crept.dd/ubucrypt-root [586412MB]/NONAME [ext4]/[root]/home/frosty/ Documents/archive/Documents/op prof sek/security/aliaces/Richard Page/info.txt

Evidence Tree * | File List x
oD pulse * flame Size | Type | Date Modified
C3) apps |__| richardpage.asc GKB Regular File 9/29/2009 5:49:56 AM
2  edvedls _| info.tet 1KB Regular File 3/20/2011 6:09:06 PM
efi) fonteantiq
fl) macromedia
efi) gphote -
(9 dropbox Name: Richard Page
EMD pki DOB: 5/13/1977
iff) samsung+ools Married
AD freemind FE addr: 11640 Gary St, Garden Grove, CA 92840, United States
E() shotwell phone: 714-620-7320
HC) Pictures
(9 biteoin pop passphrase:
El Documents
42) books richardpagefegypt.ce
4) archive a
EME) archive
A 3ds kalyhost
{9 club-z =||| richardpage
F() Eden a
Bi NYL
EHS) Documents autoVES
1-4) acton material silkroad
4) Adobe a
{9 Downloads
-{) economics operation fabulous
Eo EVE Silkroad
f-) capture ||
+429 logs
f(D) Fax KH mail
H---) job search staff@silkroad.org
{> mind maps ass
ENE) op prof sek
4) mdma gawab
Ho mise user: mollyjane
ene) hodium pass: Ea
E15) security
EME) aliaces
ew) Max Borders
---9 Richard Page
Ladf—) gillcroad
FE arto
-{E>) nightcap site
{£3 pap keys
anf) tor
HC) reference
f-4) Scanned Documents
AE) thesis
H-49 to read i
| Properties s |
Name info.txt
File Class Regular File
File Size BY5
Physical Size 4,096
Start Cluster 15,297,732

